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@A0 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case

Sheet 1 _ _ _ thee” f i ie * . _
UNITED STATES DISTRICT COURT2013 APR 29 AM 8: 38

SOUTHERN DISTRICT OF CALIFORNIA —iL.e¢

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STRICT CE CALIFORK,

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
ve (For Offenses Committed Omyor After er November 1, 98h Mer
MARIA MAGDALENA CAMPOS Case Number: 12CR4908-CAB

BENJAMIN P. DAVIS, FEDERAL DEFENDERS, INC.

Defendant’s Attorney
REGISTRATION NO. 01638298

O

THE DEFENDANT:
pleaded guilty to count(s) ONE (1) OF THE ONE-COUNT INFORMATION

 

Cc] was found guilty on count(s)

after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following oensets):

 

; a Count oo,
Title & Section Nature of Offense So a Number(s) . “ :

21 USC 952, 960 IMPORTATION OF COCAINE Be OS

 

The defendant is sentenced as provided j in pages 2 through__4__ of this judgment, The sentence is imposed pursuant ,
to the Sentencing Reform Act of 1984 St
The defendant has been found not guilty on count(s)

 

CO Count(sy is C] are[_] dismissed on the motion-of the United States. ,
Assessment: $100.00 . oon

x] Fine waived O Forfeiture pursuant to order filed a, ‘included herein: °

IT.IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence, '
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the - -
defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances. ,

APRIL 26, 2017 )

Date of "a

HON. CATHY ANN BENCIVENGO
UNITED STATES DISTRICT JUDGE

~ 12CR4908-CAB

 
 

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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
Sheet 2 — Imprisonment

 

Judgment — Page ___2. of. 4
DEFENDANT: MARIA MAGDALENA CAMPOS
CASE NUMBER: 12¢R4908-CAB
IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of

36 MONTHS.

O Sentence imposed pursuant to Title 8 USC Section 1326(b).

x] X<} The court makes the following recommendations to the Bureau of Prisons:

THE COURT RECOMMENDS PLACEMENT IN A FACILITY WITHIN THE WESTERN REGION (PREFERENCE IS
IN/NEAR VICTORVILLE, CA).

[_] The defendant is remanded to the custody of the United States Marshal.

[_] The defendant shall surrender to the United States Marshal for this district: _

Oa fam p.m. on

as notified by the United States Marshal.

 

Cl The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

C] before

["] as notified by the United States Marshal.

 

C] as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at | , with a certified copy of this judgment.
UNITED STATES MARSHAL . ,
ay Los

 

DEPUTY UNITED STATES MARSHAL , -

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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page = of _ 4
DEFENDANT: MARIA MAGDALENA CAMPOS
. CASE NUMBER: 12CR4908-CAB

- SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
FIVE (5) YEARS.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 __ drug tests per month during
the term of supervision, unless otherwise ordered by court.

C] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.) ,

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

Xx] The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis

Backlog Elimination Act of 2000, pursuant to 18 USC sections 4504(a)7 ) and 3583(d).
J The defendant shall comply with the requirements of the Sex Offender égistration and Notifi cation Act (42 U.S.C. § 16901, .<t seq. yas directed -

by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
was convicted of a qualifying offense. (Check if applicable.) sorte

Cl The defendant shall participate in an approved program for domestic violence. (Check, if applicable. )

If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay, any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance: with the Schedule or Payments set
forth in this judgment.

The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

STANDARD CONDITIONS OF SUPERVISION. a

1) the defendant shall not leave the judicial district without the permission of the court or probation offiger;, ;

2) the defendant shall report to the probation officer i in a manner and frequency directed by the court or probation officer;

3) the defendant'shall answer truthfully all inquiries by the probation officer and follow. the instructions of the probation officer; .
4) the defendant shall support his or her dependents and meet other family responsibilities; , . |

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons; fe

6) the defendant shall notify the probation officer at least ten days prior to any change in residence 0 or employment; ve

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by, a’ physician; -

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or admiinistered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any ‘person ‘convicted of
a-felony, unless granted permission to do so by the probation officer; . .

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of fany
contraband observed in plain view of the probation officer; .

I) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by, a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement ‘agency without the
permission of the court; and . :

13) asdirected by the probation officer, the defendant shall notify third parties of risks that may be occasiotied byt the defendant’ s criminal
record or personal history or characteristics and shall permit the probation officer. to make such, notifications: and to confirm the
defendant’s compliance with such notification requirement. . :

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Sheet 4 — Special Conditions

 

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DEFENDANT: MARIA MAGDALENA CAMPOS m

| CASE NUMBER: 12CR4908-CAB

SPECIAL CONDITIONS OF SUPERVISION

J Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
this condition.

C] If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.

C] Not transport, harbor, or assist undocumented aliens.

C] Not associate with undocumented aliens or alien smugglers.

[[] Not reenter the United States illegally. .
x] >] Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer. ,
x] Report all vehicles owned or operated, or in which you have an interest, to the probation officer. .

CT] Not possess any narcotic drug or controlled substance without a lawful medical prescription. . Le
C] Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerois drugs i in ‘any j form.

LO Participate i in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the, présentence report
and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
information between the probation officer and the treatment provider. May be required to contribute to the costs of's services s rendered i in an
amount to be determined by the probation officer, based on the defendant's ability to pay.

C) Take no medication containing a controlled substance without valid medical prescription, and provide proof. of prescription to the probation
officer, if directed. o

C} Provide complete disclosure of personal and business financial records to the probation officer as requested. -

C] Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without ut approval o ofthe
probation officer. ,

C Seek and maintain full time employment and/or schooling or a combination of both.
C Resolve all outstanding warrants within days. |
C] Complete hours of community service in a program approved by the probation officer within 7

C] Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of —

CT Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the.
probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider, May be required to.
“contribute t to the costs of services rendered in an amount to be determined by’ the * probation officer, based on the defendant's s ability to pay.

 

   

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